Case 6:25-cr-00005-JSS4PCl Dotusnenstee-CourFiled 11/08/24 Page 1 of 3 PagelD 66
Middle District of Florida

Orlando Division

GOVERNMENT EXHIBIT

Exhibit No.: 6.

Case No.: 6:24-mj-2118-DCI

UNITED STATES OF AMERICA

VS.

MICHAEL SCHEUER

Date Identified: \ l is 2

U1S [24

Date Admitted:

Case 6:25-cr-00005-JSS-DCI Document 23-6 —Filed 11/05/24 Page 2 of 3 PagelD 67

From: Mik er

To: Callinan, Timothy Richard (TP) (FBI); Michelle@joshi.law

Subject: [EXTERNAL EMAIL] - Re: [5-4684000037080] Notification from Google
Date: Wednesday, October 23, 2024 1:24:55 PM

Adding Michelle

Also Tim please add your ia contact, this is taking to long
Please communicate

On Tue, Oct 22, 2024, 3:50 PM Mike Scheuer <mjscheue@gmail.com> wrote:
Please explain this to me

won-nn--- Forwarded message ---------

From: <usernotice@google.com>

Date: Tue, Oct 22, 2024, 12:00 PM

Subject: [5-4684000037080] Notification from Google
To: <u ice- lv@google.com>

Hello,

Google has received legal process issued by the Federal Bureau of Investigation compelling
the release of information related to your Google account. The agency reference number or
case number on the legal process is 6:24-mj-2072, 6:24-mj-.

Unless we promptly receive a copy of a filed motion to quash that is file-stamped by a court
of competent jurisdiction, Google may provide responsive documents pursuant to applicable
law, such as the Electronic Communications Privacy Act. See 18 U.S.C. § 2701 et seq. In
most cases, the file-stamped motion to quash must be received by Google within 7 days of
the date of this notification.

For more information about how Google handles legal process, view our transparency report
at http: gle ansparencyrey latareque galprocess/.

Google is not in a position to provide you with legal advice or discuss the substance of the
legal process. Google may be able to provide a copy of the legal process upon request. If
you have other questions regarding this matter, we encourage you to contact an attorney.
Please note that we require an emailed statement sent from your account authorizing us to
communicate with your attorney about your account.

Reply directly to this email in any further communications regarding this matter. Any
communications not sent as a direct reply to this email must contain the subject line
“Attention Google Legal Investigations Support.” reference the case identification number,
and be sent to usernotice@google.com in order to ensure the appropriate routing and
processing.
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Regards,
Legal Investigations Support
Google LLC

You received this announcement to update you about important information in regards to your Google account.

[| 2023 Google LLC, 1600 Amphitheatre Parkway, Mountain View, CA 94043, USA
